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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

010 1925

ina JUD@§AIES‘AMMHED

THURMAN PAUL as the )
Administrator of the Estate of)
CEDRIC A. PAUL, deceased and )
DONTE GARDNER, individually )
Plaintiff(s), )
)
)
)

vs.
Evanston Police Officers MAR 31_2003

JOHN DOE, JOHN ROE, JOHN POE, JURX DEMANDED

and JOHN LOE, and the CITY - …H _ n _

oF EvANsToN; Employees Of MAGISMA>UJUDGE annum ”€ _f.¥-*

Aibany care center JOHN MoE, /K ca 3 `

JoHN KOE, JoHN sor,, and DENNIS m ~ ,__

TOSSI, and ALBANY CR arm

cARE cENTER,- JOHN FoE and __J 05
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JOHN NOE, and COMED
TRANSPORT, Inc., an Illinois

corporation,

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Defendant(s).

CQMPLAINT

The jurisdiction of this Court is inv
1983 and 1988; 28

oked pursuant to

the Civil Rights Act, 42 U.S.C.

U.S.C. 1331 and 1343(3); and the Constitution of the

United States,
U.S.C. Section 1367.

and supplemental jurisdiction under 28

PARTIES

2. Plaintiff Thurman Paul sues as the Administrator of the
Estate of Cedric Paul. Plaintiff Donte Gardner sues on
his own behalf. Thurman Paul is the natural brother of

Cedric Paul. Donte Gardner is the natural son of

Cedric Paul.

 

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Cedric Paul was, at the time of his death, a 37 year
old African American man, a citizen of the United
States and a resident of the City of Evanston.

Police Officers John Doe, Roe, Poe, and Loe, whose
identities are presently unknown, were employed by the
City of Evanston. All defendants were at all times
relevant to this Complaint, acting within the scope of
their employment and under color of law. All
defendants are being sued individually.

Defendant City of Evanston is a municipal corporation
within the State of Illinois, and was, at all times
relevant to this Complaint, the employer of Defendants
John Doe, Roe, Poe, and Loe, presently unknown police
officers.

John Moe, Koe, Boe, whose identities are presently
unknown and Administrator Dennis Tossi, were employees
of Albany Care Center. At all times relevant to this
Complaint, they were acting within the scope of their
employment.

Defendant Albany Care Center is a corporation within
the State of Illinois, and was, at all times relevant
to this Complaint, the employer of John Moe, Koe, Boe,
and Dennis Tossi.

Defendants John Foe and Noe were employees of CoMed
Transport. At all times relevant to this Complaint,
they were acting within the scope of their employment.
Defendant CoMed Transport is a corporation within the
State of Illinois, and was, at all times relevant to
this Complaint, the employer of John Foe and Noe,

presently unknown employees.

 

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FACTS

Cedric Paul resided at the mental health care facility,
Albany Care Center, in Evanston, Illinois.

On July 13, 2000, Mr. Paul bought a radio from another
resident for five dollars and later discovered that
the radio did not work. Mr. Paul went to Administrator
Dennis Tossi for help and Tossi refused.

Instead, Tossi summoned his employees John Moe, Koe and
Boe and called the Evanston Police Department and CoMed
to transport Mr. Paul to the hospital.

No one tried to resolve the dispute for Mr. Paul.
Officers John Doe, Roe, Poe, and Loe, Paramedics John
Foe and Noe, and Albany staff employees John Moe, Koe,
and Boe blatantly disregarded the situation and all
wrestled Mr. Paul to the ground. Mr. Paul was placed
in a choke hold.

As a result, Mr. Paul's wind pipe was broken and he was
transported to Saint Francis Hospital where he was
pronounced dead at 7:20 P.M.

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(42 U.S.C. sec. 1983 Excessive Force)

.Plaintiff realleges paragraphs l through 14 above as

though fully set forth herein.
The unjustified excessive force used by Evanston Police
Officers John Doe, Roe, Poe and Loe was the direct and

proximate cause of Plaintiff’s death. These acts by

`_ . . . . age 4 of 12 Page|D #:4

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all of the Evanston Police Defendants violated
Plaintiff’s Fourth Amendment right to be free from
unreasonable seizures; and 42 U.S.C. 1983.

WHEREFORE, Plaintiff demands $1,000,000 in compensatory

damages against these Defendants because these Defendants

acted maliciously, willfully and/or wantonly, $50,000 in

punitive damages against Defendants, plus costs, attorneys'

fee, and such other additional relief as this Court deems

equitable and just.

COUNT II
(42 U.S.C. Section 1983 Conspiracy)

l-l4.Plaintiff realleges paragraphs l through 14 above as

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though fully set forth herein.

Defendant Dennis Tossi summoned employees John Moe, Koe
and Boe to determine how to handle situation. Tossi and
the employees decided to call CoMed to transport Mr.
Paul to the hospital for a psychiatric evaluation. The
Evanston Police were also called to intervene in the
matter.

Defendant Officers John Doe, Roe, Poe and Loe, Comed
Transport employees John Foe and Noe, and Albany Care
employees John Moe, Koe, Boe and Dennis Tossi reached
an understanding and agreement that Mr. Paul should be
restrained and transported to the hospital.

Defendant Officers John Doe, Roe, Poe and Loe and CoMed

Transport employees John Foe and Noe forced Mr. Paul

 

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into a choke hold and crushed his windpipe. The
defendants course of conduct caused Mr. Paul's death.
Each defendant did reach this understanding and
agreement, and did engage in this course of conduct
with the mutual purpose, objective, and knowledge that
it would deprive Cedric Paul of his rights, privileges
and immunities, as guaranteed by the Constitution and
laws of the United States.

Additionally, said conspiracy/joint action violated
Cedric Paul's Fourth Amendment rights, under color of
law, in violation of 42 U.S.C. Section 1983, and was a
direct and proximate cause of his death.

Acting in furtherance of this plan and conspiracy, all
of the Defendants committed overt acts, including, but
not limited to the unjustifiable seizure as more fully
alleged in paragraphs 1~14. This course of conduct by
the Defendants was done willfully, maliciously,
intentionally, or with reckless disregard, and directly
and proximately caused the death of Cedric Paul.

WHEREFORE, the Plaintiff demands $1,000,000 in

compensatory damages against all Defendants, and because all

Defendants acted maliciously, willfully and/or wantonly,

$35,000 in punitive damages, plus costs, attorney fees, and

such other additional relief as this Court deems equitable

and just.

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COUNT III
(42 U.S.C.1983 - Donte Gardner's Loss of Society)

1~14.Plaintiff realleges paragraphs l through 14 as though

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fully set forth herein.

The acts of defendants, as alleged above, and the
resultant death of his father, Cedric Paul, violated
and deprived the Fourteenth Amendment right and liberty
interest of Donte Gardner in the continued society and
companionship of his father.

Defendants’ acts were the direct and proximate cause of
the injuries suffered by the Plaintiff.

WHEREFORE, the Plaintiff, seeks $100,000 in

compensatory damages against the Defendants to be

compensated for injuries caused by their willful, wantonly,

and unconstitutional acts; $50,000 in punitive damages

against each Defendant; attorney’s fees and costs; and any

additional relief this Court deems just and equitable.

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(Liability of Albany Care Center Under

Doctrine of Negligent Undertaking to Render Services)

1-14.Plaintiff realleges paragraphs l through 14 as though

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fully set forth herein.

Defendant Albany Care Center undertook, for
consideration, the duty to render services of
convalescent care to Cedric Paul.

In rendering these services, Albany Care Center
employees John Moe, Koe and Boe and Administrator
Dennis Tossi failed to exercise reasonable care as

necessary for the protection of Cedric Paul.

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The failure of the Albany Care employees to exercise
reasonable care increased the risk of harm to Cedric
Paul.

Cedric Paul suffered harm because he relied on the duty
of Albany Care Center to exercise reasonable care in
the rendering of services.

WHEREFORE, Plaintiff Donte Gardner demands compensatory

damages in excess of $50,000 against the defendants, the

costs of this action, and such other relief as this court

deems just and equitable.

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(Liability of Comed Under

Doctrine of Negligent Undertaking to Render Services)

1~14.Plaintiff realleges paragraphs l through 14 as though

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fully set forth herein.

Defendant Comed voluntarily undertook the duty to
render services of medical transport for Cedric Paul.
In rendering these services, unknown Comed John Foe and
John Noe failed to exercise reasonable care as
necessary for the protection of Cedric Paul.

The failure of the Comed employees to exercise
reasonable care increased the risk of harm to Cedric
Paul.

Cedric Paul suffered harm because he relied on the duty
of Comed to exercise reasonable care in the rendering
of services.

WHEREFORE, Plaintiff Donte Gardner demands compensatory

damages in excess of $50,000 against the defendants, the

costs of this action, and such other relief as this court

deems just and eguitable.

 

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COUNT VI

(Wrongful Death Claim Under Illinois Law Against Defendants)

l-l4.Plaintiffs allege and reallege paragraphs l

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through 14 as though fully set forth herein.

Decedent was and is survived by one Adult son.

Decedent Cedric Paul was officially pronounced dead on
July 13, 2000 at Saint Francis Hospital in Evanston,
Illinois.

Donte Gardner, beneficiary and next of kin of Cedric
Paul, exercised due care at all times material to this
Complaint.

The wrongful death due to the negligent misconduct of
the Defendants, proximately caused the injury and death
of Decedent Cedric Paul, in violation of Ill. Rev.
Stat. Ch.TO, Sec. 1,2.

Each and every next of kin, as named in or referred to
in paragraph 19 has lost and will continue to lose
pecuniary support as a proximate result of the wrongful
death of Cedric Paul.

WHEREFORE, Plaintiff Donte Gardner demands compensatory

damages in excess of $50,000 against the defendants, the

costs of this action, and such other relief as this court

deems just and equitable.

COUNT VII
(State Claim for Respondeat Superior)

1#14.Plaintiff realleges paragraph l through 14 as though

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fully set forth herein.
The City of Evanston, was at all times relevant to the
Plaintiff’s claim, the employer of presently unknown

police officers, who were acting within the scope of

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their employment as Evanston Police Officers when they

used excessive force against the Plaintiff.

16. The Defendant City of Evanston as principal is liable
for the actions of its agents under the doctrine of
Respondeat Superior.

WHEREFORE, the Plaintiff demands $lO0,000 in actual and
compensatory damages against the defendant City of Evanston,
the costs of this action, and such other relief as this
Court deems just and equitable.

§_QU_ET_.l/’..ll.l_
(Respondeat Superior Claim CoMed Transport)
1~14.Plaintiff realleges paragraph 1 through 14 as though
fully set forth herein.

15. CoMed Transport, was at all times relevant to the
Plaintiff's claim, the employer of presently unknown
employees, John Foe and John Noe, who were acting
within the scope of their employment as CoMed
Paramedics when they provided negligent assistance to
Mr. Paul.

16. The Defendant CoMed Transport as principal is liable
for the actions of its agents under the doctrine of
respondeat superior.

WHEREFORE, the Plaintiff demands $100,000 in actual and
compensatory damages against the defendant CoMed Transport,
the costs of this action, and such other relief as this
Court deems just and equitable.

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(Respondeat Superior Claim for Albany Care Center)
l-l4.Plaintiff realleges paragraph 1 through 14 as though
fully set forth herein.

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Albany Care Center, was at all times relevant to the
Plaintiff's claim, the employer of presently unknown
employees, John Moe, John Koe, John Boe and Dennis
Tossi, who were acting within the scope of their
employment as Albany Care employees when they
negligently failed to intervene in the situation.
The Defendant Albany Care Center as principal is liable
for the actions of its agents under the doctrine of
respondeat superior because employees John Moe, John
Koe, John Boe and Dennis Tossi failed to reasonably
mediate Mr. Paul's problem with another resident.

WHEREFORE, the Plaintiff demands $100,000 in actual and

compensatory damages against the defendant Albany Care

Center, the costs of this action, and such other relief as

this Court deems just and eguitable.

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PLAINTIFF DEMANDS TRIAL BY JURX ON ALL COUNTS

Respectfully Submitted.

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Demitrus Evans
Attorney for Plaintiff

Law Office of Standish E. Willis
407 S. Dearborn

Suite 1395

Chicago, lllinois 60605
312-554-0005

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JS 44
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The JS-44 ci cover sheet and ' ormation contained herein neither replace nor supplement the filing and service 01 pleadings or other papers as require

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Administrator of the Estate of Cedric Clty Of Evanston' Albany Care Center'
A. Paul , deceased and Donte Gardner , Com@d Transport
individually
(b) ccunr\r or nEsicENcE 01= Finsr usrso PLAiNnFF QQQ]§ couer oF nesiosncs oi= i=insT usTEo DEFENDANT \..O fm
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42 U.S.C. Section 1983 Civil Rights Cause of Action

 

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LW-T.ED STATES DISTRICT CC\_}T
NORTH ERN DISTRICT OF ILLINOIS

ln the l\/Iatter of
Thurman Paul , as the Administrator of the JUDGE ALES[A
Estate of Cedric A. Paul, deceased and Donte Gardner, individually
v. BdA *
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Officer John Doe, Roe, Poe and Loe,r City of

Evanston, Albany Care Center, and Comed Transport ` .,
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THURMAN PAUL, as the Administrator of the Estate of Cedric A Paul
deceased and DONTE GARDNER individually ; fm ?` __

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